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                                      UNITED STATES DISTRICT CO URT
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           U N ITED STA TES O F A M ER ICA

           VS.

           STEPHEN M .COSTA,

                          D efendant.
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                                               FA C TUA L PRO FFER

                  The United States and defendant Stephen M .Costa (Costa) hereby stipulate to the

           fbllowing factss which establish the factual basis for Costa's plea of guilty to the charge of

           conspiracy to comm ithealthcarefraud,ascharged inthe Southern DistrictofNew York,CaseNo.

           13-C RIM -963:

                          M edicaid isafederally-financed health carebenefitprogram which subsidizesthe

           provision ofpharmaceuticaldrugsto individualswhose incom eisbelow thepoverty level. Such

           individuals w ho obtain prescriptions for various types ofm edicines can receive them for little or

           nocostatpharm acies,which then obtain reim bursem entfrom the M edicaid program .

                          Prescription pharmaceuticalsare sold with labeling thatindicates theirbrand,lot

         num bers,their strength,required storage conditions,quantity,expiration dates,and also with

           pharm acy labelsidentifyingthe individualsto whom theywereprescribed. W holesalequantities

         of such medicines are sold with docum entation oftheirorigination and m anufacturer.and the

         distributors w ho have handled them . Such m edicines cannot be sold if they have not been

         handled by licensed pharm aceuticaldistributorsand properly docum ented asto theirorigin.

                         During the course ofthe charged conspiracy,otheroffendersobtained quantitiesof

         expensive medicines, such as those used to treat asthma, psychiatric symptom s, and HlV
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      infections,bybuying them from purportedpatientswho had obtained them from retailphanuacies

      inNew York City asM edicaidbeneficiaries. Thesemedicineswereaggregated intoquantitiesby

      co-conspirators,and Costathen ourchased them in uuantitv.
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                                                                                                      -   /<
             4. >            osta'sl-'
                                     xK--'cto makethemedicinesre-m arketable,thepharmacy label

      thepatient'sidentitieswererem oved and thebottleswere cleaned to makethem appearto be new

      instead ofhaving been previously dispensed.Costa incolporated and used wholesaledistribution

      companies to sellthe second-hand prescription drugs to phannacies.As partof the scheme,

      Costa's co-conspirators created t'
                                       raudulent docum entation to falsely show that the m edicines

      bought on the streets from individuals were instead new m edicines being shipped through

      legitim ate pharm aceuticaldistributorsandkeptinproperty controlled conditions.

             5.        Som e of the phalnnacies did not know they were receiving illegally obtained.

      second-hand medicines. M edicaid reimbursedvariouspharm aciesforthesalesofsuchm edicines

      to patients,which the M edicaid program would nothavedone had thenature ofthem edicinesas

      re-purchased and re-labeled beenknown.

                       During the course ofthis schem e,the value ofthe phanuaceuticals involved in

      Costa's illegal transactions was approxim ately $1.2 m illion. Paym ents for these m edicines
      ultimately came from funds provided to the M edicaid program for the purpose of providing

      m edicinesto poor eople.




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